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13

14                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
15
     KEN WARREN,                                        CASE NO: 2:17-cv-01100-JAD-GWF
16

17                                  Plaintiffs,
18                                                         [PROPOSED] JOINT PRETRIAL
                                           vs.                      ORDER
19
     CARDOZA PUBLISHING, INC., and AVERY
20   CARDOZA also known as ALLAN
     SILBERSTANG,
21

22
                                   Defendant.
23

24         Following pretrial proceedings in this cause, Plaintiff Ken Warren (“Warren” or
25 “Plaintiff”) and Defendants Cardoza Publishing, Inc. and Avery Cardoza also known as Allan

26 Silberstang (collectively, “Defendants”), by and through their respective counsel of record, hereby

27 submit the following proposed joint pretrial order pursuant to LR 16-4:

28
                                                    1
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 1
     1.        STATEMENT OF THE NATURE OF THE ACTION
 2
               Plaintiff’s Statement of the Case:
 3
               Defendants willfully violated Plaintiff’s copyrights, breached the contracts they entered
 4
     into with him to reproduce and sell Plaintiff’s works (the “Book Contracts”) and fraudulently
 5
     attempted to conceal the extent of their malfeasance through threats and misrepresentations.
 6
               In addition to the contracts identified in the Uncontested Facts, Defendants and Plaintiff
 7
     entered into two additional contracts. Under the first contract, dated April 4, 1995, Warren and
 8
     Defendant Silberstang entered into a Cardoza Publishing Book Contract for the publication and
 9
     distribution of a book tentatively titled Complete Guide to Winning Hold’em Poker, eventually
10
     published as Winner’s Guide to Texas Hold’em Poker. Under this contract, Warren was to receive
11
     6% of the retail price for all paperbacks sold and 7.5% of the retail price for all hardcovers sold in
12
     the United States. In addition, Cardoza published a second edition of the Winner’s Guide to Texas
13
     Hold’em Poker in or about 2008. Furthermore, Warren and Cardoza entered into another contract,
14
     dated December 4, 20061 for the publication and distribution of a book tentatively titled Ken
15
     Warren Teaches Hold’em 2, eventually published as Ken Warren Teaches Texas Hold’em Volume
16
     2. Under this contract, Warren was to receive 7% of the retail price for all paperbacks sold in the
17
     United States and 3.5% on all paperbacks sold internationally. Hardcover books are not referenced
18
     in this contract.
19
               Furthermore, Defendants produced second and/or translated editions of certain titles. For
20
     example, Cardoza published a second edition of the Big Book of Poker in or about 2007. In
21
     addition, Defendants contracted with Heel Verlag GmbH and published a German translation of
22
     the Big Book of Poker, titled Das Grosse Pokerbuch (ISBN 13: 978-3-89880-690-9), and
23
     Defendants contracted with Fantaisium and published a French translation of the Big Book of
24
     Poker, titled Le Grand Livre Du Poker (ISBN 10: 1-58042-113-X). Moreover, Defendants
25
     published a second edition of Plaintiff’s work Ken Warren Teaches 7 Card Stud.
26
               Defendants willfully overstepped the license Plaintiff provided them via written contracts
27
     1
         The document was signed and dated in December 4, 2006, but the typed agreement is dated December 4, 2007.
28
                                                              2
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 1
     to publish, sell and market his works in paperback and hardcover formats by reproducing
 2
     Plaintiff’s works in an e-book format without authorization and continuing to profit from
 3
     copyrights they are no longer entitled to use. The Court has already found Defendants liable for
 4
     copyright infringement for reproducing and distributing Plaintiff’s works in electronic form,
 5
     namely as e-Books. Furthermore, Plaintiff terminated the contracts authorizing Defendants to
 6
     publish, market and sell his works, and yet Defendants appear determined to continue to profit
 7
     from the commercial value and goodwill associated with Plaintiff’s copyrights until they are forced
 8
     to cease doing so by the Court. Plaintiff is statutorily entitled to treble damages due to Defendants’
 9
     willfulness in violating his exclusive copyrights without authorization and continuing to profit
10
     therefrom.
11
            Defendants entered into contracts with foreign businesses to publish translations of
12
     Plaintiff’s copyrighted works such as The Big Book of Poker into German and French. Specifically,
13
     Defendants entered into contracts with Heel Verlag GmbH and Fantaisium and granted both of
14
     them rights to publish Plaintiff’s copyrighted works, which resulted in the publication of Das
15
     Grosse Pokerbuch (ISBN 13: 978-3-89880-690-9) and Le Grand Livre Du Poker (ISBN 10: 1-
16
     58042-113-X). Defendants did not inform Plaintiff of these contracts nor did he accurately provide
17
     royalty statements for the sales of the translations of Plaintiff’s copyrighted works resulting
18
     therefrom. In order to enter into the contract with Heel Verlag GmbH, Avery Cardoza falsely
19
     represented himself as an author of Plaintiff’s copyrighted works.
20
            Furthermore, Defendants breached the terms of the contracts they entered into with
21
     Plaintiff by refusing to render royalty statements or provide royalty payments to him. Plaintiff has
22
     not received a royalty statement or payment for at least a decade in spite of the written agreement
23
     stating that Defendants would provide both biannually. The royalty statements that were provided
24
     over ten years ago are inaccurate.
25
            When Plaintiff suspected that Defendants were being less than truthful with him, he
26
     attempted to verify the royalty statements that Defendants had previously provided with the foreign
27
     publishers Defendants used to reproduce his works. Defendants, upon learning of these
28
                                                       3
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 1
     communications, threatened Plaintiff and forbade him from communicating with anyone but
 2
     Defendants in order to hide and continue their malfeasance. Thereafter, Plaintiff was unable to
 3
     obtain accurate sales numbers from Defendants to verify the royalty statements provided.
 4
            Defendants’ Statement of the Case:
 5
            This case is the latest litigation commenced by Plaintiff against Defendants wherein
 6
     Plaintiff has continued to seek relief to which he is not entitled. Plaintiff has not been successful
 7
     in previous litigation against Defendants. Defendants have fully and completely performed each
 8
     and every condition of all agreements between the parties, have made payments and advanced
 9
     funds to Plaintiff in an amount greater than Plaintiff is entitled to under the parties’ publishing
10
     agreement. Defendants have not been repaid thousands of dollars in advances against future
11
     royalties that were previously paid to Plaintiff.
12
            After years of litigation and having failed to complete any discovery in this action other
13
     than sending one set of interrogatories and requests for production, Plaintiff concocted a
14
     completely new (and previously unpled) claim alleging that Defendants are infringing on his
15
     copyrights by selling eBook versions of Plaintiff’s books. Incredulously, Plaintiff not only
16
     misrepresented the intent and scope of the parties’ contractual relationships, he also submitted
17
     unsigned and incomplete “contracts” as purported support for his new claim.
18
            Although the Court granted partial summary judgment related to Plaintiff’s claim for
19
     infringement of eBook rights [ECF 95], Defendants respectfully disagree with this decision and
20
     believe it to be erroneous, subject to reversal, and based on a misinterpretation of the parties’
21
     contract, which was likely caused by Plaintiffs’ misrepresentations. Plaintiff never raised his
22
     newly-concocted eBooks argument throughout the many years of previous litigation surrounding
23
     the same alleged contractual violations. He only made such a claim regarding eBooks after
24
     discovery was closed in this matter and Plaintiff realized that he needed to move the goalposts in
25
     order to avoid certain defeat on his meritless claims.
26
            The underlying facts between the parties are as follows. Plaintiff wrote a total of six (6)
27
     books in the 1990s and early 2000s. Despite the creative presentation of the Plaintiff, there remain
28
                                                         4
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 1
     six (6) book titles and no more. He has written nothing since and his works have become
 2
     antiquated. His assumption of a “strong commercial value and goodwill” associated with his works
 3
     is self-serving, patently false and entirely unsupported. Indeed, his print sales have been virtually
 4
     non-existent for almost a decade. The Parties’ contract did not prohibit Defendants from publishing
 5
     eBooks, and includes a “special editions” clause. The term “special editions” is a term to cover all
 6
     forms other than the specific forms enumerated in the contract. The reality is that very minimal
 7
     sales of any of Plaintiff’s work have occurred, including eBooks, and there are no damages to
 8
     Plaintiff because he has received all royalties to which he is entitled. In spite of the Court’s ruling
 9
     from ECF 95 regarding to eBooks, Plaintiff will be unable to show any actual damages as a result
10
     of his allegations against Defendants. It is anticipated that Plaintiff will rely on statutory damages,
11
     but even those should be found to be on the minimum end, and with relation to a small set of
12
     publications, and subject to reversal on appeal due to the entry of summary judgment being made
13
     without admissible evidence being presented by Plaintiff and without Defendants being afforded
14
     the opportunity to present disputed issues of material fact relevant to the contract to a jury.
15
     2.     STATEMENT OF JURISDICTION
16
            Jurisdiction is not disputed. This Court has jurisdiction over this matter pursuant to 28
17
     U.S.C. §§ 1331, 1332, 1338 and 1367. Plaintiff’s claims are, in part, based on violations of the
18
     Lanham Act, as amended, 15 U.S.C. §§ 1051, et seq. The Court has jurisdiction over the state law
19
     claims pursuant to 28 U.S.C. §§ 1332 and 1367.
20
            Plaintiff Ken Warren is and was, at all relevant times, a resident of St. Charles County,
21
     State of Missouri. Defendant Cardoza Publishing Company is a foreign corporation organized and
22
     existing under the laws of the State of Florida, with its principal place of business located in Las
23
     Vegas, Nevada. (ECF No. 49 ¶ 2.) Defendant Avery Cardoza is a resident and citizen of the State
24
     of Nevada, and his actual name is Allan Silberstang (hereinafter “Silberstang”). (Id.)
25
     3.     UNCONTESTED FACTS
26
            The following facts are admitted by the parties and require no proof:
27
     Uncontested facts relevant to Plaintiff
28
                                                       5
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 1
                1.     Defendant Silberstang is the founder and sole owner of Defendant Cardoza
 2
     Publishing and has the sole authority to make all decisions for Cardoza Publishing (“Cardoza”).
 3
     (Id.)
 4
                2.     At all relevant times, Defendant Silberstang was acting individually and within the
 5
     course and scope of his agency and employment with Defendant Cardoza. (Id.)
 6
                3.     Plaintiff and Defendant Cardoza, through its authorized agent Defendant
 7
     Silberstang, executed contracts entitled “Cardoza Publishing Book Contract,” (the “Book
 8
     Contracts”).
 9
                4.     Under each contract, Warren was to write and provide a manuscript to Cardoza who
10
     was contractually authorized to publish, market and sell hardback and/or soft-cover versions of the
11
     titles.
12
                5.     In exchange, Cardoza was to provide biannual reports and royalty payments at
13
     different rates per title.2
14
                6.     Specifically, the Book Contracts required Defendants “to render biannual
15
     statements of account … 60 days after the half has ended” and defined the “half” as being January-
16
     June and July- December. (Id.)
17
                7.     The Book Contracts further obligated Defendants to pay the royalties owed to
18
     Plaintiff biannually “90 days after the half has ended.” (Id.)
19
                8.     Under the first contract, dated June 24, 1996, (“Contract #1”) Warren and
20
     Defendant Silberstang entered into a Cardoza Publishing Book Contract for the publication and
21
     distribution of a book tentatively titled Texas Hold ‘em 2.
22
                9.     Under Contract #1, Warren was to receive 6% of the retail price for all paperbacks
23
     sold and 7.5% of the retail price for all hardcovers sold in the United States.
24

25   2
     Specifically, the Book Contracts state and require the following: “The Publisher shall pay the author the following
26 royalties  on sales (less returns): (a) Sales of paperback (trade and/or mass market) in the United States: 6% of the
   retail price for all copies sold; (b) Sales of hardcover (if applicable) in the United States: 7.5% of the retail price for
27 all copies sold; (c) Sales of paperback and hardcover outside the United States: 50% of the normal royalty for all
   copies sold,” except with regard to Ken Warren Teaches 7 Card Stud and Ken Warren Teaches Hold ‘em 2 in which
   6% was replaced with 7%. (ECF No. 49 ¶ 4)
28
                                                                6
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 1
            10.     Warren and Cardoza entered into a second contract, dated June 13, 2002, (“Contract
 2
     #2”) for the publication and distribution of a book tentatively titled Ken Warren Teaches Hold’em,
 3
     eventually published as Ken Warren Teaches Texas Hold’em.
 4
            11.     Warren was to receive 6% of the retail price for all paperbacks sold and 7.5% of
 5
     the retail price for all hardcovers sold in the United States under Contract #2.
 6
            12.     In addition, Cardoza was to provide Warren with 3% of all paperbacks sold and
 7
     3.75% of all hardcovers sold internationally under Contract #2. Id.
 8
            13.     Warren and Cardoza entered into a third contract, dated August 29, 2002,
 9
     (“Contract #3”) for the publication and distribution of a book tentatively titled Ken Warren
10
     Teaches Omaha, eventually published as The Winner’s Guide to Omaha Poker.
11
            14.     Under Contract #3, Warren was to receive 6% of the retail price for all paperbacks
12
     sold and 7.5% of the retail price for all hardcovers sold in the United States.
13
            15.     In addition, Cardoza was to provide Warren with 3% of all paperbacks sold and
14
     3.75% of all hardcovers sold internationally. Id.
15
            16.     Warren and Cardoza entered into a fourth contract, dated February 1, 2003,
16
     (“Contract #4”) for the publication and distribution of a book tentatively titled Big Book of Poker.
17
            17.     Under Contract #4, Warren was to receive 6% of the retail price for all paperbacks
18
     sold and 7.5% of the retail price for all hardcovers sold in the United States.
19
            18.     In addition, Cardoza was to provide Warren with 3% of all paperbacks sold and
20
     3.75% of all hardcovers sold internationally. Id.
21
            19.     Warren and Cardoza entered a fifth contract, dated September 3, 2004, (“Contract
22
     #5”) for the publication and distribution of a book titled Ken Warren Teaches 7 Card Stud.
23
            20.     Under Contract #5, Warren was to receive 7% of the retail price for all paperbacks
24
     sold in the United States and 3.5% for all paperbacks sold internationally.
25
            21.     Hardcover books were not referenced in the Contract #5.
26
            22.     Warren and Cardoza entered into a sixth contract, dated September 3, 2004,
27
     (“Contract #6,” and together with Contract #1, Contract #2, Contract #3, Contract #4, and Contract
28
                                                         7
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 1
     #5, collectively, the “Book Contracts”) for the publication and distribution of a book tentatively
 2
     titled Ken Warren Teaches Hold’em 2, eventually published as Ken Warren Teaches Advanced
 3
     Texan Hold’em Vol. 2.
 4
            23.     Under Contract #6, Warren was to receive 7% of the retail price for all paperbacks
 5
     sold in the United States and 3.5% for all paperbacks sold internationally.
 6
            24.     Hardcover books were not referenced in Contract #6. Id.
 7
            25.     The following titles were authored by Warren and published by Cardoza
 8
     Publishing:
 9
                    a. Ken Warren Teaches 7 Card Stud (ISBN-13: 9781580421577; ISBN 10:
10
                        1580421571);
11
                    b. Ken Warren Teaches Texas Hold’em I (ISBN 13: 9781580422383; ISBN 10:
12
                        1580422381);
13
                    c. Ken Warren Teaches Texas Hold’em, Volume 2 (ISBN 13: 9781580422543;
14
                        ISBN 10: 1580422543);
15
                    d. Ken Warren Teaches Texas Hold’em (ISBN 13: 9781580420853; ISBN 10:
16
                        1580420850);
17
                    e. Ken Warren Teaches 7 Card Stud (ISBN 13: 9781580422215; ISBN 10:
18
                        1580422217);
19
                    f. Ken Warren Teaches Advanced Texas Hold’em, Vol. 2 (ISBN 13:
20
                        9781580421584; ISBN 10: 158042158X);
21
                    g. The Winner’s Guide to Omaha Poker (ISBN-13: 9781580421027; ISBN 10:
22
                        1580421024);
23
                    h. Winner’s Guide to Texas Hold’em (ISBN 13: 9781580422307; ISBN 10:
24
                        1580422306);
25
                    i. Winner’s Guide to Texas Hold’em Poker (ISBN 13: 9780940685598; ISBN 10:
26
                        0940685590);
27
                    j. The Big Book of Poker: A big, easy, and fun guide to winning (ISBN 13:
28
                                                     8
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 1
                           9781580421133; ISBN 10: 158042113X); and
 2
                       k. The Big Book of Poker (ISBN 13: 9781580422192; ISBN 10: 1580422195).
 3
     (collectively, the “Published Books”.)
 4
              26.      Plaintiff owns valid copyrights in all of the books identified in the Book Contracts
 5
     (“Plaintiff’s Books”). (See ECF No. 49, ¶ 10)
 6
              27.      Said copyrights are registered with the United States Copyright Office. Id.
 7
              28.      In 2002, Defendant Silberstang represented to Plaintiff in a letter provided with his
 8
     semi-annual royalty statement, that Defendants had formed a relationship with Simon & Schuster
 9
     and that they would distribute and sell Plaintiff’s Books through Simon & Schuster, Inc. (See ECF
10
     No. 49 ¶ 4.)
11
              29.      Malloy Lithograph and Versa Press were the printers of the Published Books.
12
              30.      Licenses to the Published Books were granted to Heel books in Germany and to
13
     Fantaisium in France.
14
              31.      While Defendants have continued to publish and sell Plaintiff’s Books, Defendants
15
     have made no royalty payments to Plaintiff for many years. Id.
16
              32.      Since at least 2010, Defendant Cardoza Publishing has featured Plaintiff’s Books
17
     on its interactive website www.cardozabooks.com. (Id.)
18
              33.      Defendants, and each of them, have presented and continue to present to the world
19
     an assumed right and/or authorization to sell Plaintiff’s Books. (ECF No. 49 ¶ 10.)
20
              34.      Defendants, and each of them, have received and continue to receive money and
21
     other benefits from the continuing and ongoing sales of Plaintiff’s Books. (Id.)
22
              35.      The Court has already entered Partial Summary Judgment against Defendants and
23
     held that Defendants are liable to Plaintiff for violating Plaintiff’s copyright by selling Plaintiff’s
24
     Books in an electronic (eBook) format without authorization.3
25
     Uncontested Facts Relevant to Defendants
26
     3
        Although Defendants stipulate to the fact that the Court entered its Order granting partial summary judgment as
27
     stated herein [ECF 95], Defendants specifically reserve all legal rights related to reconsideration of the Order and/or
     to any procedurally-allowed challenge or appeal seeking to reverse the Order granting partial summary judgment.
28
                                                               9
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 1
             1.      No additional uncontested facts.
 2
     4.      NON-ADMITTED, BUT UNCONTESTED FACTS
 3
             The following facts, though not admitted, will not be contested at trial by evidence to the
 4
     contrary: None.
 5

 6
     5.      ISSUES OF FACT TO BE TRIED AND DETERMINED AT TRIAL
 7
             The following are the issues of fact to be tried and determined upon trial:
 8
             A.      Plaintiff’s Issues of Fact:
 9
             1.      Whether, at the time of the Book Contracts’ formation, Plaintiff intended to enter
10
     into a contract in which he would provide a license to Defendants to publish, market and sell his
11
     Copyrighted Works and in which Defendants would provide accurate biannual royalty statements
12
     and payments at the rate of: 6% of the retail price for paperbacks sold domestically (except for Ken
13
     Warren Teaches 7 Card Stud and Ken Warren Teaches Hold ‘em 2 in which Plaintiff was to receive
14
     7%); 7.5% of the retail price for all hardcover books sold domestically; and 50% of the normal
15
     royalty rate for all international copies sold.
16
             2.      Whether, at the time of the Book Contracts’ formation, Defendants intended to enter
17
     into a contract in which they would have a license to publish, market and sell Plaintiff’s
18
     Copyrighted Works and in which they would provide accurate biannual royalty statements and
19
     payments at the rate of: 6% of the retail price for paperbacks sold domestically (except for Ken
20
     Warren Teaches 7 Card Stud and Ken Warren Teaches Hold ‘em 2 in which Plaintiff was to receive
21
     7%); 7.5% of the retail price for all hardcover books sold domestically; and 50% of the normal
22
     royalty rate for all international copies sold.
23
             3.      Whether Defendants willfully infringed on Plaintiff’s copyrights by publishing and
24
     selling Plaintiff’s Copyrighted Works in an eBook format;
25
             4.      Whether Defendants intended to and did induce Plaintiff’s justified reliance on a
26
     material misrepresentation of fact when they sent the email dated January 22, 2008 in which they
27

28
                                                        10
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 1
     threatened Plaintiff with financial repercussions and insisted that he only communicate with
 2
     Defendants for accurate information;
 3
              5.     Whether Defendants intended to and did induce Plaintiff’s justified reliance on a
 4
     material misrepresentation of fact when they provided inaccurate royalty statements;
 5
              6.     Whether Plaintiff terminated his Book Contracts with Defendants;
 6
              7.     Whether Defendants provided Plaintiff with inaccurate royalty statements and/or
 7
     interfered with Plaintiff’s ability to obtain accurate royalty information from third parties in bad
 8
     faith;
 9
              8.     Whether Defendants willfully attempted to prevent Plaintiff from discovering their
10
     malfeasance by sending Plaintiff threatening communications when he attempted to verify sales
11
     with third parties such as international publishing house, Heel Verlag GmbH.
12
              B.     Defendants’ Issues of Fact:
13
              1.     Whether Defendants took any actions in violation of their obligations under the
14
     various contracts.
15
              2.     Whether Plaintiff actually or properly terminated the various contracts.
16
              3.     Whether Plaintiff suffered any actual damages by way of the alleged conduct of
17
     Defendants.
18
              4.     Whether the term “special editions” in the Book Contracts includes special non-
19
     print editions not specifically mentioned in the agreement, including but not limited to eBooks.
20
              5.     Whether the de minimis royalties owed to Plaintiff were properly offset by
21
     outstanding debts owed by Plaintiff to Defendants.
22
              6.     Whether certain contracts between the parties are valid, unambiguous, and
23
     enforceable contracts; and whether certain contracts claimed by Plaintiff to be valid contracts are
24
     authentic documents or not.
25
     6.       CONTESTED ISSUES OF LAW
26
              The following are the issues of law to be tried and determined upon trial.
27
              A.     Plaintiff’s Issues of Law:
28
                                                      11
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 1
            1.      Whether the Book Contracts are valid and enforceable;
 2
            2.      Whether Defendants breached their unambiguous duties under the Book Contracts
 3
                    to:
 4
                    a. “[R]ender biannual statements of account … 60 days after the half has ended”
 5
                          with “half” defined as being January-June and July-December; and
 6
                    b. Pay the royalties owed to Plaintiff biannually “90 days after the half has ended.”
 7
            3.      Whether Defendants’ liability for statutory damages should be enhanced because
 8
     they knew that their actions constituted infringement and/or violations of the Copyright Act.
 9
            B.      Defendants’ Issues of Law:
10
            1.      Whether Defendants have breached any valid and enforceable contract with
11
     Plaintiff;
12
            2.      Whether Defendant was allowed to unilaterally cancel the parties’ contracts, and
13
     whether he in fact ever did notify Plaintiff of his alleged attempt to cancel the parties’ contracts;
14
            3.      Whether Plaintiffs have been harmed financially or in any tangible way by
15
     Defendants’ conduct as allegations in the Complaint;
16
            3.      Whether Defendants are liable for any damages whatsoever; and if statutory
17
     damages are sought, whether any statutory damages beyond the minimum amounts set forth in
18
     the applicable statutes should be awarded;
19
            4.      Whether the term “Special Edition” found in the Book Contracts includes special
20
     non-print paperback and hardcover editions not specifically mentioned in the agreement,
21
     including but not limited to e-books;
22
            5.      Whether Plaintiff has met his burden of production to show harm whatsoever for
23
      Defendants’ alleged actions.
24
     1.     DOCUMENTARY EXHIBITS
25
           A.       The following exhibits are stipulated into evidence in this case and may be so
26                  marked by the clerk:
27                  1.       Plaintiff’s Exhibits:
28
                                                     12
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 1           Plaintiff reserves the right to use Defendants’ exhibits, plus the following:
 2

 3   Exhi    Dat   Date      BATES BEG             BATES END         Witness     DESCRIPTION
     bit #    e    Admi
 4           Ma     tted
             rke
 5            d
      1.                   WARREN_000457        WARREN_000459                   2002 0829 Book
 6                                                                              Contract
     2.                    WARREN_000469        WARREN_000471                   2004 0903 Book
 7                                                                              Contract-     Ken
                                                                                Warren Teaches 7
 8                                                                              Card Stud
     3.                    WARREN_000457        WARREN_000459                   2002 0829 Book
 9                                                                              Contract
     4.                    WARREN_000592        WARREN_000596                   Total Book Sales
10
                                                                                Accounting
11   5. .                  WARREN_000637        WARREN_000637                   Total Book Sales
                                                                                Accounting
12   6.                    WARREN_000649        WARREN_000649                   Royalty
                                                                                Statements-1997 B
13                                                                              Sales Statement
     7.                    WARREN_000482        WARREN_000483                   Cardoza
14                                                                              Publishing Invoice
     8.                    WARREN_000647        WARREN_000647                   Report 98 A
15   9.                    WARREN_000646        WARREN_000646                   Royalty 1999A
     10.                   WARREN               WARREN_000642                   Royalty 1999B
16                         _000642
     11.                   WARREN_000640        WARREN_000641                   Royalty 2000 A-B
17
     12.                   WARREN_000643        WARREN_000645                   Cardoza
18                                                                              Publishing Invoice
     13.                   WARREN_000638        WARREN_000639                   Royalty 2001 A-B
19   14.                   WARREN_000617        WARREN_000618                   Royalty 2002 A-B
     15.                   WARREN_000580        WARREN_000584                   Letter        from
20                                                                              Cardoza       2003
                                                                                1003
21   16.                   WARREN_000614        WARREN_000616                   Royalty 2003 A-B
     17.                   WARREN_000612        WARREN_000613                   Royalty 2004 A-B
22   18.                   WARREN_000607        WARREN_000611                   Foreign Reports
                                                                                March-August
23                                                                              2005
     19.                   WARREN_000577        WARREN_000579                   Letter from
24
                                                                                Cardoza
25                                                                              Publishing 2005
                                                                                1221
26   20.                   WARREN_000606        WARREN_000606                   Reports 2006A
                                                                                January -June
27   21.                   WARREN_000575        WARREN_000576                   Letter from
                                                                                Cardoza
28
                                              13
     Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 14 of 29



 1   Exhi    Dat   Date     BATES BEG           BATES END   Witness   DESCRIPTION
     bit #    e    Admi
 2           Ma     tted
             rke
 3            d
                                                                      Publishing
 4
                                                                      regarding July –
 5                                                                    December 2006
                                                                      Statements
 6   22.                   WARREN_000574    WARREN_000574             Letter from
                                                                      Cardoza
 7                                                                    Publishing
                                                                      regarding July –
 8                                                                    December 2007
                                                                      Statements
 9   23.                   WARREN_000605    WARREN_000605             Reports 2007A
                                                                      January - June
10   24.                   WARREN_000602    WARREN_000602             Reports 2007B
                                                                      July-December
11   25.                   WARREN_000600    WARREN_000601             Royalty
                                                                      Statements for
12
                                                                      2008-A-B (July-
13                                                                    Dec 2008)
     26.                   WARREN_000568    WARREN_000573             Letter from
14                                                                    Cardoza
                                                                      Publishing
15                                                                    regarding 2008B
                                                                      Royalty
16   27.                   WARREN_000597    WARREN_000599             Royalty Statement
                                                                      for 2009 (January -
17                                                                    Dec 2009 A-B
     28.                   WARREN_000563    WARREN_000567             Letter        from
18                                                                    Cardoza
                                                                      Publishing
19                                                                    regarding     2010
                                                                      04142009B
20                                                                    Royalty
     29.                   WARREN_000510    WARREN_000512             Das Grosse
21
                                                                      Pokerbuch
22   30.                   WARREN_000415    WARREN_000420             Correspondence
                                                                      Letters from
23                                                                    Stinson Morrison
                                                                      and Hecker dated
24                                                                    3/10/2011 and
                                                                      Mass dated
25                                                                    3/8/2011
     31.                   WARREN_000421    WARREN_000448             Email between K.
26                                                                    Warren & Cardoza
     32.                   WARREN_000494    WARREN_000500             2008 Email
27                                                                    between K.
                                                                      Warren & Cardoza
28
                                           14
           Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 15 of 29



 1          Exhi      Dat     Date         BATES BEG                BATES END              Witness   DESCRIPTION
            bit #      e      Admi
 2                    Ma       tted
                      rke
 3                     d
            33.                         WARREN_000501            WARREN_000503                       2008 Email
 4
                                                                                                     between K.
 5                                                                                                   Warren & Cardoza
            34.                         WARREN_000514            WARREN_000516                       2010 0601 Fax
 6                                                                                                   from Cardoza
            35.                         WARREN_000517            WARREN_000525                       Email between K.
 7                                                                                                   Warren & Cardoza
            36.                         WARREN_000585            WARREN_000587                       2002 1015 Letter
 8                                                                                                   from Cardoza to
                                                                                                     Authors
 9          37.                         WARREN_000588            WARREN_000590                       2002 0325 Letter
                                                                                                     from Cardoza to
10                                                                                                   Authors
            38.                         WARREN_000591            WARREN_000591                       2001 1005 Letter
11                                                                                                   from Cardoza to
                                                                                                     Authors
12
            39.                         WARREN_000238            WARREN_000243                       2016 0427
13                                                                                                   Termination letter
                                                                                                     from James R.
14                                                                                                   Dowd
            40.                         VERSA000001              VERSA00004                          Responsive
15                                                                                                   documents
                                                                                                     pursuant to
16                                                                                                   Subpoena Duces
                                                                                                     Tecum served
17                                                                                                   upon Versa Press,
                                                                                                     Inc.4
18          41.                         EBM000001                EBM000093                           Responsive
                                                                                                     documents
19                                                                                                   pursuant to
                                                                                                     Subpoena Duces
20                                                                                                   Tecum served
                                                                                                     upon Edwards
21
                                                                                                     Brothers Malloy5
22          42.                         PGW000001                PGW000003                           Responsive
                                                                                                     Documents
23                                                                                                   pursuant to
                                                                                                     Subpoena Duces
24                                                                                                   Tecum served
                                                                                                     upon Publishers
25                                                                                                   Group West6

26
     4
       Defendants stipulate as to the authenticity of the documents but not their admissibility.
27   5
       Defendants stipulate as to the authenticity of the documents but not their admissibility.
     6
       Defendants stipulate as to the authenticity of the documents but not their admissibility.
28
                                                               15
     Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 16 of 29



 1   Exhi    Dat   Date     BATES BEG           BATES END   Witness   DESCRIPTION
     bit #    e    Admi
 2           Ma     tted
             rke
 3            d
 4   43.                   WARREN_000001    WARREN_000019             Cardoza Affidavit
                                                                      and Motion to
 5                                                                    Dismiss, Docket
                                                                      from Missouri
 6                                                                    Action
     44.                   WARREN_000020    WARREN_000095             Pleadings from
 7                                                                    Judicial Court
                                                                      State of Missouri
 8   45.                   WARREN_000096    WARREN_000130             Declaration of
                                                                      James Dowd,
 9                                                                    Yeckel, Cardoza
     46.                   WARREN_000131    WARREN_000162             Cardoza
10                                                                    Responses to
                                                                      Discovery Request
11                                                                    and other
                                                                      pleadings in 11th
12                                                                    Judicial Court,
                                                                      Missouri action
13
     47.                   WARREN_000163    WARREN_000194             Various pleadings,
14                                                                    Complaint,
                                                                      Motions, Affidavit
15                                                                    of Robert
                                                                      Casagrande,
16                                                                    Cardoza and
                                                                      Warren in Federal
17                                                                    Court Missouri
                                                                      Action
18   48.                   WARREN_000197    WARREN_000237             Various pleadings,
                                                                      Complaint,
19                                                                    Motions, Affidavit
                                                                      of Robert
20                                                                    Casagrande,
                                                                      Cardoza and
21                                                                    Warren in Federal
                                                                      Court Missouri
22
                                                                      Action
23   49.                   WARREN_000244    WARREN_000294             Communications/P
                                                                      leadings from U.S.
24                                                                    District Court,
                                                                      Missouri Action
25   50.                   WARREN_000295    WARREN_000306             Cardoza’s
                                                                      Answers to
26                                                                    Discovery
                                                                      Requests from 11th
27                                                                    Judicial District
     51.                   WARREN_000307    WARREN_000414             U.S. BK Docket
28
                                           16
     Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 17 of 29



 1    Exhi    Dat   Date      BATES BEG             BATES END         Witness     DESCRIPTION
      bit #    e    Admi
 2            Ma     tted
              rke
 3             d
                                                                                 (New Haven) and
 4
                                                                                 New York
 5                                                                               pleadings
                                                                                 involving Cardoza
 6                                                                               Publishing and
                                                                                 other litigation
 7                                                                               against Cardoza
                                                                                 Publishing
 8   52.                    WARREN_000513        WARREN_000513                   Web Research for
                                                                                 Cardoza books
 9   53.                    WARREN_000651        WARREN_000660                   Simon & Schuster
                                                                                 response to 3rd
10                                                                               Party Subpoena
     54.                    WARREN_000672        WARREN_000694                   Malloy
11                                                                               Incorporated 3rd
                                                                                 Party Subpoena
12

13            2.      Defendants’ Exhibits:
14            Defendant reserves the right to use Plaintiff’s exhibits, plus the following:
15

16   Exhibit Date    Date   Bates Beg Bates End Witness DESCRIPTION
       #     Marke Admitted
17            d
       A                    DEF000001 DEF000001         Ken Warren -
18                                                      Nielsen Book
19                                                      Scan
       B                    DEF000002 DEF000025         Book Contracts
20
       C                             DEF000026 DEF000029                      Accounting
21                                                                            Documents and
                                                                              Notes
22     D                             DEF000030 DEF000073                      Royalty
23                                                                            Statements
       E                             DEF000074 DEF000082                      Ken Warren
24                                                                            Title Sales
        F                            DEF000083 DEF000083                      Copyright
25                                                                            Winner’s Guide
                                                                              to Texas
26
                                                                              Hold’em Poker
27

28
                                               17
     Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 18 of 29



 1   Exhibit Date    Date   Bates Beg Bates End Witness DESCRIPTION
       #     Marke Admitted
 2
              d
 3     G                    DEF000084 DEF000084         Copyright
                                                        Winner’s Guide
 4                                                      to Omaha
                                                        Poker
 5     H                    DEF000085 DEF000085         Copyright Ken
 6                                                      Warren Teaches
                                                        Texas
 7                                                      Hold’em2
       I                    DEF000086 DEF000086         Copyright Ken
 8                                                      Warren Teaches
                                                        Texas
 9                                                      Hold’em
10     J                    DEF000087 DEF000087         Copyright Ken
                                                        Warren Teaches
11                                                      7-Card
                                                        Stud
12     K                    DEF000088 DEF000088         Copyright The
                                                        Big Book of
13
                                                        Poker
14     L                    DEF000089 DEF000089         2017 Ken
                                                        Warren
15                                                      Royalties
       M                    DEF000090 DEF000100         Emails between
16                                                      Ken Warren and
17                                                      Avery Cardoza
       N                    DEF000030 DEF000032         Royalty
18                                                           Statements-1996
                                                             B Sales Statement
19     O                      DEF000033    DEF000034         Report 98 A

20
       P                      DEF000036    DEF000037         Royalty 1999A
21
       Q                      DEF000039    DEF000039         Royalty 2000 B
22

23     R                      DEF000040    DEF000040         Royalty 2001 B

24     S                      DEF000041    DEF000042         Royalty 2002 A
25
       T                      DEF000043    DEF000045         Royalty 2003 A
26
       U                      DEF000046    DEF000047         Royalty 2004 A-B
27

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                                      18
     Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 19 of 29



 1   Exhibit Date    Date     Bates Beg    Bates End   Witness DESCRIPTION
       #     Marke Admitted
 2
              d
 3     V                      DEF000048    DEF000050          Foreign Reports
                                                              March-August
 4                                                            2005
       W                      DEF000051    DEF000052          Reports 2006A
 5                                                            January –June

 6     X                      DEF000053    DEF000054          Reports 2007A-B
                                                              January –June
 7     Y                      DEF000055    DEF000056          Royalty
                                                              Statements for
 8                                                            2008-A-B
                                                              (January –June
 9                                                            2008)
       Z                      DEF000058    DEF000059          Royalty Statement
10                                                            for 2009 (January
                                                              - Dec 2009 A-B)
11
      AA                      DEF000060    DEF000061          Royalty Statement
12                                                            for 2010 (January
                                                              - Dec 2010 A-B
13    BB                      DEF000062    DEF000063          Royalty Statement
                                                              for 2011 (January
14                                                            - June 2011 A-B
      CC                      DEF000064    DEF000065          Royalty Statement
15                                                            for 2012 (January
                                                              - Dec 2012 A-B
16    DD                      DEF000066    DEF000067          Royalty Statement
                                                              for 2013 (January
17                                                            - Dec 2013 A-B
      EE                      DEF000068    DEF000069          Royalty Statement
18                                                            for 2014 (January
                                                              - June 2014 A-B
19
      FF                      DEF000070    DEF000071          Royalty Statement
20                                                            for 2015 A-B
      GG                      DEF000072    DEF000073          Royalty Statement
21                                                            for 2016 A-B
22

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 1        A.    As to the following additional exhibits, the parties have reached the
                stipulations as stated:
 2
                1. Plaintiff’s and Defendants’ Joint Exhibits:
 3
     Exhi      Dat   Date      BATES BEG           BATES END     Witness   DESCRIPTION
 4   bit #      e    Adm
 5             Ma    itted
               rke
 6              d
     1.                      DEF000013         DEF000015                   1995 0404 Book
 7                                                                         Contract-
                                                                           Winner’s Guide to
 8                                                                         Texas Hold’em
                                                                           Poker
 9   2.                      DEF000002         DEF000005                   1996 0624 Book
                                                                           Contract- Texas
10                                                                         Hold’em 2
11   3.                      DEF000023         DEF000025                   2002 0613 Book
                                                                           Contract- Ken
12                                                                         Warren Teaches
                                                                           Texas Hold’em
13   4.                      DEF000010         DEF000012                   2002 0829 Book
                                                                           Contract- The
14                                                                         Winner’s Guide to
                                                                           Omaha Poker
15   5.                      DEF000007         DEF000009                   2003 0201 Book
                                                                           Contract- The Big
16                                                                         Book of Poker: A
                                                                           big, easy, and fun
17                                                                         guide to winning
     6.                      DEF000016         DEF000018                   2004 0903 Book
18                                                                         Contract- Ken
                                                                           Warren Teaches
19                                                                         Advanced Texas
                                                                           Hold’em, Vol. 2
20
     7.                      DEF000019         DEF000022                   2007 1204 Book
21                                                                         Contract- Ken
                                                                           Warren Teaches
22                                                                         Hold’em 2
     8.                      WARREN_000526     WARREN_000562               Cardoza
23                                                                         Publishing
                                                                           Company check-
24                                                                         payable to Ken
                                                                           Warren
25   9.                      DEF000026         DEF000029                   Accounting
                                                                           Documents-
26                                                                         Advances        and
                                                                           Royalties
27

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                                              20
          Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 21 of 29



 1           10.                   DEF000074             DEF000082                        Cardoza
                                                                                          Publishing- Gross,
 2                                                                                        Return & Net Sales
                                                                                          for All Ken Warren
 3                                                                                        Books
 4           11.                   N/A                   N/A                              Cardoza’s
                                                                                          Answers to First
 5                                                                                        Set of Request for
                                                                                          Production of
 6                                                                                        Documents
             12.                   N/A                   N/A                              Cardoza’s
 7                                                                                        Answers to First
                                                                                          Set of
 8                                                                                        Interrogatories

 9
               B.      As to the following exhibits, the party against whom the same will be offered
10                     objects to their admission upon the grounds stated:

11
                      1. Objections by Defendant to Plaintiff’s Exhibits:
12
               Defendants challenge each of the exhibits listed below on the basis of (1) hearsay, (2) best
13
     evidence, (3) foundation, (4) authentication, (5) failure to properly disclose during discovery
14
     and/or (6) relevance as noted.
15

16       Exhibit No.                    Description                     Defendants Objections
        1-3                 Book contracts, as identified by           1, 3, 4 and 5
17
                            Plaintiff above
18
        4, 5                Total Book Sales Accounting                  1, 3, 4 and 5
19
        6-28                Royalty statements, invoices, and            1, 3, 4 and 5
20                          other various accounting records
        29                  Das Grosse Pokerbuch                         2, 3, 4, 5, and 6
21

22      30                  Correspondence Letters from                  1, 3, 4, 5, and 6
                            Stinson Morrison and Hecker dated
23                          3/10/2011 and Mass dated
                            3/8/2011
24      31-33, 35           Emails between K. Warren and                 1, 3, 4, ]5, and 6
                            Cardoza
25
        34                  June 1, 2010 Fax and letter from             1, 3, 4, 5, and 6
26                          Witt to Cardoza
        36-38               Letters from Cardoza                         1, 3, 4, 5, and 6
27

28
                                                       21
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 1      Exhibit No.                  Description                     Defendants Objections
       39                April 27, 2016 Letter from Dowd            1, 4, and 5
 2
                         to Cardoza
 3     40-42             Responsive documents to third-               1, 3, and 5
                         party subpoenas
 4

 5     43-44             Pleadings from Judicial Court State          1, 3, 4, 5 and 6
                         of Missouri
 6
       45                Declarations of James Dowd,                  1, 3, 4, 5 and 6
 7                       Yeckel, Cardoza
       46                Cardoza responses to Discovery               1, 3, 4, 5 and 6
 8                       Request and other pleadings in the
                         11th Judicial Court, Missouri
 9                       Action
10     47-49             Various pleadings in Federal                 1, 2, 3, 4, 5 and 6
                         District Court, Eastern District of
11                       Missouri, as Identified by Plaintiff
                         above
12     50                Cardoza’s Answers to Discovery               1, 2, 3, 4, 5 and 6
                         Requests from 11th Judicial District
13
       51                U.S. BK Docket (New Haven) and               1, 2, 3, 4, 5 and 6
14                       New York pleadings involving
                         Cardoza Publishing and other
15                       litigation against Cardoza
                         Publishing
16     52                Web Research for Cardoza books               1, 3, 4, 5 and 6
17
       53                Simon & Schuster response to 3rd             1, 3, 4, 5 and 6
18                       Party Subpoena
       54                Malloy Incorporated 3rd Party                1, 3, 4, 5 and 6
19                       Subpoena
20                       2. Objections by Plaintiff to Defendant’s Exhibits:

21          Plaintiff challenges each of the exhibits listed below on the basis of (1) hearsay, (2) best

22 evidence, (3) foundation, (4) authentication, (5) failure to properly disclose during discovery

23 and/or (6) relevance as noted.

24
        Exhibit No.                 Description                          Plaintiff’s Objection
25          A           Ken Warren - Nielsen Book Scan                2 and 4
26
               C        Accounting Documents and Notes                2 and 4
27

28
                                                    22
     Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 23 of 29



 1   Exhibit No.                Description                         Plaintiff’s Objection
 2
         D         Royalty Statements                            1, 2, and 4

 3       E         Ken Warren Title Sales                        4

 4       M         Emails between Ken Warren and                 1, 2, 3, 4, and 6
                   Avery Cardoza
 5       N         Royalty Statements-1996 B Sales               1, 2, and 4
                   Statement
 6       O         Report 98 A                                   1, 2, and 4
 7       P         Royalty 1999A                                 1, 2, and 4
 8
         Q         Royalty 2000 B                                1, 2, and 4
 9
         R         Royalty 2001 B                                1, 2, and 4
10
         S         Royalty 2002 A                                1, 2, and 4
11
         T         Royalty 2003 A                                1, 2, and 4
12
         U         Royalty 2004 A-B                              1, 2, and 4
13

14
         V         Foreign Reports March-August 2005             1, 2, and 4

15       W         Reports 2006A January –June                   1, 2, and 4

16       X         Reports 2007A-B January –June                 1, 2, and 4

17       Y         Royalty Statements for 2008-A-B (January      1, 2, and 4
                   –June 2008)
18       Z         Royalty Statement for 2009 (January -         1, 2, and 4
                   Dec 2009 A-B)
19      AA         Royalty Statement for 2010 (January -         1, 2, and 4
                   Dec 2010 A-B
20       BB        Royalty Statement for 2011 (January -         2 and 4
                   June 2011 A-B
21
        CC         Royalty Statement for 2012 (January -         2 and 4
22                 Dec 2012 A-B
        DD         Royalty Statement for 2013 (January -         2 and 4
23                 Dec 2013 A-B
         EE        Royalty Statement for 2014 (January -         2 and 4
24                 June 2014 A-B
         FF        Royalty Statement for 2015 A-B                2 and 4
25
        GG         Royalty Statement for 2016 A-B                2 and 4
26

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        Case 2:17-cv-01100-JAD-EJY Document 110 Filed 05/01/19 Page 24 of 29



 1
          C.    Depositions:
 2
               1.       Plaintiff will offer the following depositions:
 3
                Not Applicable. No depositions were taken in this case.
 4
               2.       Defendant will offer the following depositions:
 5
                Not Applicable. No depositions were taken in this case.
 6
          D.    Objections to Depositions:
 7
               1.     Plaintiff objects to Defendant’s depositions as follows:
 8
                Not Applicable. No depositions were taken in this case.
 9
                Defendant objects to Plaintiff’s depositions as follows:
10
                Not Applicable. No depositions were taken in this case.
11
     VIII. WITNESSES WHO MAY BE CALLED UPON TRIAL
12
         A.    Plaintiff’s Witnesses:
13
         1.    Kenneth Warren
14             c/o Dickinson Wright PLLC
15             8363 Sunset Road, Suite 200
               Las Vegas, Nevada 89113
16             (702) 550-4000

17       2.    Avery Cardoza also known as Allan Silverstang
               c/o JOHN H. GUTKE
18
               552 E. Charleston Blvd.
19             Las Vegas, NV 89104
               702-766-1212
20             Fax: 702-825-0311

21       3.    Person Most Knowledgeable Cardoza Publishing, Inc.
               c/o JOHN H. GUTKE
22
               552 E. Charleston Blvd.
23             Las Vegas, NV 89104
               702-766-1212
24
         4.    Person Most Knowledgeable Edward Brothers Malloy
25             5411 Jackson Road
               Ann Arbor, Michigan 48103
26

27       5.    Person Most Knowledgeable Simon & Schuster
               TBD
28
                                               24
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 1
      6.    Petra Hundacker Heel Verlag GmbH
 2          [Unknown]
 3
      7.    James Stern Cardoza London
 4          c/o JOHN H. GUTKE
            552 E. Charleston Blvd.
 5          Las Vegas, NV 89104
            702-766-1212
 6

 7    8.    Sam Ladlow Cardoza London
            c/o JOHN H. GUTKE
 8          552 E. Charleston Blvd.
            Las Vegas, NV 89104
 9          702-766-1212
10
      9.    Mary Grimes Cardoza London
11          c/o JOHN H. GUTKE
            552 E. Charleston Blvd.
12          Las Vegas, NV 89104
            702-766-1212
13
      B.    Defendant’s Witnesses:
14
      1.    Avery Cardoza aka
15          c/o John H. Gutke, Esq.
            GUTKE LAW GROUP
16          552 E. Charleston Blvd.
            Las Vegas, Nevada 89104
17          (702) 766-1212
18    2.    Robert Casagrande
            c/o John H. Gutke, Esq.
19          GUTKE LAW GROUP
            552 E. Charleston Blvd.
20          Las Vegas, Nevada 89104
            (702) 766-1212
21
      3.    Dana Smith
22          5805 W. Harmon, #65
            Las Vegas, Nevada 89103
23

24    4.    Kenneth C. Warren
            c/o Dickinson Wright PLLC
25          8363 Sunset Road, Suite 200
            Las Vegas, Nevada 89113
26          (702) 550-4000
27

28
                                          25
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 1
     IX. TRIAL DATES
 2
              Counsel for parties have met and herewith submit a list of three (3) agreed-upon trial
 3
     dates:
 4
           October 7-11                   November 4-8                    November 11-15
 5
              It is expressly understood that the Court will set the trial of this matter on one of the agreed-
 6
     upon dates, if possible; if not, trial will be set at the convenience of the Court’s calendar.
 7
     X.       ESTIMATED TIME FOR TRIAL
 8
              It is estimated that the trial herein will take a total of 4-5 days.
 9
     APPROVED AS TO FORM AND CONTENT:
10

11    Dated this 25th day of April, 2019                      Dated this 25th day of April, 2019
12
      DICKINSON WRIGHT PLLC                                   GUTKE LAW GROUP
13

14     /s/ Hilary Williams                                     /s/ John H. Gutke
      JOHN L. KRIEGER                                         JOHN H. GUTKE
15    HILARY WILLIAMS                                         552 East Charleston Boulevard
      8363 West Sunset Road, Suite 200                        Las Vegas, NV 89104
16
      Las Vegas, NV 89113-2210                                Tel: (702) 766-1212
17    Tel: (702) 550-4400                                     Fax: (702) 825-0311
      Fax; (844) 670-6009                                     Email: john@gutkelaw.com
18                                                            Attorneys for Defendants
      ONDERLAW, LLC
19    James R. Dowd
20    (Missouri Bar No. 28818MO) (Pro Hac Vice)
      MATTHEW P. O’GRADY
21    (Missouri Bar No. 47543MO) (Pro Hac Vice)
      110 East Lockwood, 2nd Floor
22    St. Louis, MO 63119
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 1                                                    XI.

 2                                    ACTION BY THE COURT

 3         (a) This case is set down for a JURY trial on the October 8, 2019, 9:00 a.m. trial stack.

 4 The parties must appear for Calendar Call on September 30, 2019, at 1:30 p.m.

 5         (b) No later than 12:00 p.m. on September 30, 2019, each party must file with the Court:

 6                (1) The parties’ trial briefs

 7                (2) The parties’ exhibit and witness lists

 8                (3) Proposed jury instructions and proposed voir dire questions (for jury trials)

 9                (4) Proposed findings of facts and conclusions of law (for bench trials)

10         (c) The deadline for filing MOTIONS IN LIMINE is September 8, 2019. The process

11 for preparing and filing motions in limine will be governed by the following additional rules and

12 considerations:

13                (1) As Local Rule 16-3 requires, before any motion in limine is filed, the parties

14         must meet and confer (by telephone or in person not merely by email or some other form

15         of writing) about the substance of each contemplated in-limine issue and attempt to reach

16         an agreement on the issue. Evidentiary agreements reached during this process should be

17         memorialized by a written stipulation. If the parties do not reach an agreement on an

18         issue and a motion in limine remains necessary, the motion must be accompanied by a

19         declaration or affidavit certifying that counsel actually conferred in good faith to

20         resolve the issue before the motion was filed (or re-filed), see L.R. 16-3(a). The failure to

21         include the certificate of counsel will result in the automatic denial of the motion without

22         the opportunity to cure this deficiency.

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 1           (2) Motions in limine must address only true evidentiary issues and not be belated

 2    motions for dispositive rulings disguised as a motion in limine.

 3           (3) Any party desiring to file motions in limine must include all in-limine issues

 4    in a SINGLE, omnibus motion that numbers each issue consecutively; no party may file

 5    multiple, separate motions. This format eliminates the need for redundant recitations of

 6    facts and introductory statements of the law. If the size of the omnibus motion exceeds

 7    the page limit in the local rule, see L.R. 7-3(b), a separate motion to exceed the page

 8    limits should be filed contemporaneously with the omnibus motion; the motion to exceed

 9    page limits must not be styled as an “emergency.”

10           (4) Replies in support of the motions in limine will be allowed only with leave

11    from the court and each side may file only a single request for leave, see L.R. 16-3(a).

12    The parties should not presume that the court will grant these requests for leave, so

13    proposed orders granting them should not be submitted.

14           (5) The parties are cautioned that vague requests based on speculative issues, like

15    requests to generally preclude improper attorney arguments, violations of the golden rule,

16    or irrelevant evidence will be flatly denied. The court intends to follow the rules of

17    evidence and procedure at trial and expects the parties to do the same. Motions seeking

18    little more than an order enforcing a rule waste the court’s time and the parties’ resources.

19    Counsel is strongly cautioned that abuse of the motion-in-limine vehicle in this manner

20    may result in sanctions against the attorneys.

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 1         This order will govern the trial of this case and may not be amended except by order of

 2 the court.

 3         IT IS FURTHER ORDERED that the parties appear for a Status Conference on

 4 June 3, 2019, at 3:00 p.m. in LV Courtroom before Judge Jennifer A. Dorsey.

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 6         DATED: 5/1/2019

 7                                              _________________________________________
                                                JENNIFER A. DORSEY
 8                                              UNITED STATES DISTRICT JUDGE

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